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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


    ALEJANDRO MENOCAL,
    MARCOS BRAMBILA,                                        Civil No. 1:14-cv-02887-JLK
    GRISEL XAHUENTITLA,
    HUGO HERNANDEZ,
    LOURDES ARGUETA,
    JESUS GAYTAN,
    OLGA ALEXAKLINA,
    DAGOBERTO VIZGUERRA, and DEMETRIO
    VALERGA
    on their own behalf and on behalf of all others
    similarly situated,
                                 Plaintiffs,

              v.

    THE GEO GROUP, INC.,

                                     Defendants.


              DECLARATION OF JUNO TURNER IN SUPPORT OF PLAINTIFFS’
                          OPPOSITION TO DEFENDANT’S
                   REQUEST TO DEPOSE ABSENT CLASS MEMBERS

         I, Juno Turner, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

         1.        I am a partner at Outten & Golden LLP, which, together with Towards Justice, the

 Law Office of R. Andrew Free, Milstein Law Office, The Kelman Buescher Firm, P.C., and

 Meyer Law Office, P.C., are Plaintiffs’ and Class Counsel herein. I am an attorney in good

 standing admitted to practice in the State of New York and before this Court.

         2.        I have been one of the lawyers primarily responsible for the prosecution of

 Plaintiffs’ and the Class’s claims in this case.

         3.        I make the statements in this Declaration based on my personal knowledge and

 would so testify if called as a witness at trial.
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 Procedural History

        4.      On March 14, 2017, the Court granted Plaintiffs’ motion to certify the classes in

 this action and designated Plaintiffs’ counsel as Class Counsel. Following the Tenth Circuit’s

 decision affirming the Court’s decision on class certification, the parties made good faith efforts

 to resolve this matter, but such efforts were unsuccessful. The parties filed a Stipulated Proposed

 Scheduling and Discovery Order in this case on August 22, 2018, in which GEO requested to

 depose 96 absent class members. Plaintiffs oppose the request. The parties agreed to file briefs

 providing supplemental authority to the Court in support of their respective positions no later

 than August 30, 2018.

 Exhibits

        5.      Attached hereto as Exhibit A is a true and correct copy of Plaintiffs’ Initial

 Disclosures.

        6.      Attached hereto as Exhibit B is a true and correct copy of Zivali v. AT&T

 Mobility, 08-cv-10310 (S.D.N.Y.) (Dkt No. 143).

 Dated: New York, New York
        August 30, 2018
                                                      Respectfully submitted,

                                                      By: /s/Juno Turner

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